                      IN THE SUPREME COURT OF NORTH CAROLINA

                                             2021-NCSC-129

                                               No. 91A21

                                       Filed 5 November 2021

      IN THE MATTER OF: A.A.M.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered 3

     December 2020 by Judge Mark L. Killian in District Court, Burke County. This

     matter was calendared for argument in the Supreme Court on 30 September 2021

     but determined on the record and briefs without oral argument pursuant to Rule 30(f)

     of the North Carolina Rules of Appellate Procedure.


            Amanda C. Perez for petitioner-appellee Burke County Department of Social
            Services.

            Morgan Renee Thomas, Heather Williams Forshey, and Katelyn Bailey Heath,
            for respondent-appellee Guardian ad Litem.

            Parent Defender Wendy C. Sotolongo, by Deputy Parent Defender Annick
            Lenoir-Peek, for respondent-appellant father.


            BERGER, Justice.

¶1          Respondent appeals from the trial court’s order terminating his parental rights

     in A.A.M. (Aiden)1 based on dependency and willful abandonment.2 We affirm.

                                        I.     Background


            1 A pseudonym is used throughout the opinion to protect the child’s identity and for

     ease of reading.
            2 The trial court’s order also terminated the parental rights of Aiden’s mother, who is

     not a party to this appeal.
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¶2         On August 20, 2018, Burke County Department of Social Services (DSS) filed

     a juvenile petition alleging that Aiden was a neglected and dependent juvenile. The

     petition alleged that Aiden’s mother tested positive for fentanyl and amphetamines

     at the time of Aiden’s birth in August 2018, and Aiden also tested positive for

     amphetamines and methamphetamines. The trial court entered a nonsecure custody

     order authorizing DSS to place Aiden in a licensed foster home or a facility operated

     by DSS. On August 23, 2018, the trial court appointed a guardian ad litem for Aiden.

¶3         Aiden was adjudicated a dependent and neglected juvenile in a December 20,

     2018 order. The trial court ordered DSS to maintain custody of Aiden and arrange

     for his placement or foster care. Paternity for Aiden had not been established at the

     time of the review hearing. The mother had named six potential fathers. By order

     entered February 4, 2019, the court precluded visitation between the juvenile and

     any putative father until DNA testing confirmed paternity.

¶4         A permanency planning hearing was conducted on March 14, 2019, and the

     trial court set the primary permanent plan as reunification (with mother) and the

     secondary plan as adoption.

¶5         Subsequent DNA testing established that respondent was Aiden’s biological

     father, and respondent was added as a party to the action.       At a May 9, 2019

     permanency planning hearing, the court found that respondent had an extensive

     criminal history and was in custody under an $85,000.00 bond. The court ordered
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     that respondent have no visitation with Aiden until respondent entered into a case

     plan with DSS and was released from custody. Respondent would be allowed one

     hour of supervised visitation per month if he met these requirements.

¶6         The trial court entered a permanency planning order on August 29, 2019 in

     which it found that respondent had yet to enter a case plan and was not actively

     participating with DSS or the guardian ad litem. Additionally, respondent was not

     paying child support. Respondent was still in custody under an $85,000.00 bond at

     the time, and the trial court found that respondent was “acting in a manner

     inconsistent with the health and safety of the [juvenile].”      The court further

     determined that adoption may be an appropriate plan if reunification could not occur

     within six months.

¶7         The trial court entered another permanency planning order on December 20,

     2019 in which it found respondent had not entered a case plan with DSS; remained

     incarcerated with an expected release date of June 16, 2021; was not making progress

     toward reunification within a reasonable period of time; and was not actively

     participating with a case plan, DSS, or the guardian ad litem. The court changed the

     primary permanent plan to adoption with a secondary plan of reunification.

     Respondent was ordered to comply with the following:

                 a. Complete a substance abuse assessment and complete
                    all recommendations;
                 b. Submit to random urine and hair follicle drug screens
                    as requested by [DSS] no later than 4:00pm on the date
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                      requested.
                   c. Complete parenting classes and demonstrate the skills
                      he has learned;
                   d. Obtain and maintain a legal means of income;
                   e. Maintain contact with [DSS];
                   f. Sign appropriate releases of information for all service
                      providers so [DSS] can monitor [his] compliance with
                      services;
                   g. Obtain and maintain stable housing;
                   h. Refrain from engaging in criminal activity.

¶8          In another permanency planning order entered on August 14, 2020, the court

     found that respondent had still not entered a case plan with DSS.             Moreover,

     respondent remained incarcerated, but his expected release date had changed to

     January 27, 2021. As to potential placements for Aiden, DSS excluded some of the

     individuals provided by respondent because they were not biological relatives and

     excluded others based on criminal history, physical inability, and living

     circumstances. The remaining potential placements either did not respond to

     communications from DSS, or DSS had not found contact information for the

     potential placement. The court found that respondent was “minimally” available to

     the Court, DSS, and the guardian ad litem.

¶9          On July 29, 2020, DSS filed a motion to terminate respondent’s parental

     rights.3   DSS alleged that grounds existed to terminate his parental rights for




            3 The motion to terminate parental rights included the termination of the mother’s

     parental rights in Aiden. Respondent-mother’s parental rights were subsequently
     terminated, and she did not appeal.
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       willfully leaving the juvenile in foster care for more than twelve months, dependency,

       and willful abandonment.

¶ 10         On August 10, 2020, respondent responded to the motion to terminate his

       parental rights by contending he did not receive a case plan from DSS until July 2020,

       despite requesting a plan “since day one.” Respondent also noted his unsuccessful

       efforts in providing a suitable placement for Aiden and stated that his fiancée could

       act as a guardian to provide stable housing and finances for Aiden.

¶ 11         A hearing on the motion to terminate parental rights began on September 25,

       2020. The trial court terminated respondent’s parental rights in an order entered

       December 3, 2020, pursuant to N.C.G.S. § 1111(a)(6) and (7), and concluded that it

       was in Aiden’s best interests that respondent’s parental rights be terminated.

¶ 12         The trial court made the following findings of fact related to willful

       abandonment:

                    128. The foster parents of the juvenile set up a post office
                       box so that the respondent father could send mail to the
                       juvenile. The foster father also gave the respondent
                       father his personal cell phone number so that he could
                       call and keep in touch with the foster parents and the
                       juvenile.

                    129. The respondent father did not send cards, gifts or
                       letters for the juvenile in the six months prior to the
                       Department filing the motion for termination of
                       parental rights either to the Department or to the foster
                       parents.

                    130.   The respondent father did not call to check on the
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   status of the juvenile or inquire about his health, safety,
   or welfare in the six months in the six months [sic] prior
   to the Department filing the motion for termination of
   parental rights either to the Department or the foster
   parents. The respondent father testified that he has
   access to a phone in prison and that his access to that
   phone has not be[en] curtailed by the COVID-19
   pandemic.

131. The respondent father has never met or acted as a
   parent to the juvenile.

132. The respondent father has never made a bond with
   the juvenile.

133. The respondent father has never provided a safe
   home for the juvenile.

134. The respondent father has never contributed
   financially to the juvenile. [Respondent-father] has a
   job in prison wherein he earns $0.70 per day.

135. The respondent father has withheld his love and
   affection from the juvenile.

136. The court received evidence in the form of copies of
   receipts for items that were supposedly purchased by
   [respondent-father’s fiancée] for the juvenile’s second
   birthday.

137. [Respondent-father’s fiancée] testified that any
   efforts she made were voluntary and that [respondent-
   father] did not ask her to do it.

138. The respondent father is aware that the juvenile is
   in the custody of the Burke County Department of
   Social Services.

....
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                    140. The failure of the respondent father to send cards,
                       gifts or letters, financially support the juvenile or
                       maintain a parental bond with the juvenile within six
                       months next preceding the filing of the juvenile motion
                       demonstrates conduct which is wholly inconsistent with
                       a desire to maintain custody of the juvenile.

                    ....

                    145. Pursuant to N.C.G.S. § 7B-1111(a)(7) the respondent
                       father has willfully abandoned the juvenile for a
                       continuous period of six months preceding the filing of
                       the motion.

¶ 13         Respondent appeals, arguing findings of fact 128, 129, 130, 135, 140, and 145

       are not supported by the evidence. Further, respondent contends the trial court erred

       in concluding that grounds existed to terminate his parental rights based on

       dependency, pursuant to N.C.G.S. § 7B-1111(a)(6), and willful abandonment,

       pursuant to N.C.G.S. § 7B-1111(a)(7).

                                        II.      Analysis

¶ 14         Our Juvenile Code provides a two-stage process for terminating parental

       rights: an adjudicatory stage followed by a dispositional stage. See N.C.G.S. § 7B-

       1109, -1110 (2019). During the adjudicatory stage, the burden is on the petitioner to

       establish the existence of any ground for termination alleged under N.C.G.S. § 7B-

       1111(a) based on clear, cogent, and convincing evidence. N.C.G.S. § 7B-1109(e)–(f)

       (2019).   “A trial court’s finding of fact that is supported by clear, cogent, and

       convincing evidence is deemed conclusive even if the record contains evidence that
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       would support a contrary finding.” In re B.O.A., 372 N.C. 372, 379, 831 S.E.2d 305,

       310 (2019) (citing In re Moore, 306 N.C. 394, 403–04, 293 S.E.2d 127, 132 (1982)).

¶ 15         “Unchallenged findings are deemed to be supported by the evidence and are

       ‘binding on appeal.’ ” In re K.N.K., 374 N.C. 50, 53, 839 S.E.2d 735, 738 (2020)

       (quoting In re Z.L.W., 372 N.C. 432, 437, 831 S.E.2d 62, 65 (2019)). “Moreover, we

       review only those findings necessary to support the trial court’s determination that

       grounds existed to terminate respondent’s parental rights.” In re Z.O.G.-I., 375 N.C.

       858, 861, 851 S.E.2d 298, 301 (2020) (quoting In re T.N.H., 372 N.C. 403, 407, 831

       S.E.2d 54, 58–59 (2019)).     “[W]hether a trial court’s findings of fact support its

       conclusions of law is reviewed de novo.” In re J.S., 374 N.C. 811, 814–15, 845 S.E.2d

       66, 71 (2020) (citing State v. Nicholson, 371 N.C. 284, 288, 813 S.E.2d 840, 843 (2018)).

¶ 16         Pursuant to N.C.G.S. § 7B-1111(a)(7), a trial court may terminate parental

       rights upon a finding that “[t]he parent has willfully abandoned the juvenile for at

       least six consecutive months immediately preceding the filing of the petition or

       motion[.]” N.C.G.S. § 7B-1111(a)(7).        “[A]bandonment imports any willful or

       intentional conduct on the part of the parent which evinces a settled purpose to forego

       all parental duties and relinquish all parental claims to the child.” Pratt v. Bishop,

       257 N.C. 486, 501, 126 S.E.2d 597, 608 (1962). “Willful intent is an integral part of

       abandonment and this is a question of fact to be determined from the evidence.” Id.

       at 501, 126 S.E.2d at 608.
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¶ 17         “If a parent withholds that parent’s presence, love, care, the opportunity to

       display filial affection, and willfully neglects to lend support and maintenance, such

       parent relinquishes all parental claims and abandons the child.” In re C.B.C., 373

       N.C. 16, 19, 832 S.E.2d 692, 695 (2019) (cleaned up) (quoting Pratt, 257 N.C. at 501,

       126 S.E.2d at 608). To support this ground for termination, “the trial court must

       make findings of fact that show that the parent had a ‘purposeful, deliberative and

       manifest willful determination to forego all parental duties and relinquish all

       parental claims to [the child][.]’ ” In re A.G.D., 374 N.C. 317, 319, 841 S.E.2d 238,

       240 (2020) (quoting In re N.D.A., 373 N.C. 71, 79, 833 S.E.2d 768, 774 (2019)).

¶ 18         “[T]he ‘determinative’ period for adjudicating willful abandonment is the six

       consecutive months preceding the filing of the petition.” See In re D.M.O., 250 N.C.

       App. 570, 573, 794 S.E.2d 858, 861 (2016) (citing In re Young, 346 N.C. 244, 251, 485

       S.E.2d 612, 617 (1997)). DSS filed its motion to terminate respondent’s parental

       rights on July 29, 2020. Thus, the determinative six-month period was from January

       29, 2020, through July 29, 2020.

       A. Finding of Fact 128

¶ 19         The record includes testimony from Aiden’s foster parent that the foster

       parents obtained a post office box to allow respondent to communicate with Aiden by

       mail and that Aiden’s foster father provided his cell phone number to respondent as

       well. Respondent testified that the foster parents opened a post office box, provided
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       him with the address, and provided him with their contact information. Thus, finding

       of fact 128 is supported by the record evidence and is conclusive on appeal.

       B. Finding of Fact 129

¶ 20         Aiden’s foster parent testified that after receiving a Christmas card from

       respondent in December 2019, the foster family did not receive any additional

       correspondence or gifts from respondent. Moreover, respondent’s fiancé testified that

       when she bought clothes, shoes, toys, and snacks for Aiden, she did it voluntarily and

       that respondent had not asked her to. As such, finding of fact 129 is supported by the

       record evidence and is conclusive on appeal.

       C. Finding of Fact 130

¶ 21         Respondent specifically contends that during the adjudicatory hearing, the

       DSS social worker assigned to Aiden’s case changed her testimony related to contact

       by respondent with DSS during the determinative six-month period. Respondent also

       asks this Court to compare the statements of Aiden’s foster parent summarized in a

       DSS report against the foster parent’s testimony before the trial court.

¶ 22         We note that “[i]f different inferences may be drawn from the evidence, [the

       trial judge] determines which inferences shall be drawn and which shall be rejected.”

       See Knutton v. Cofield, 273 N.C. 355, 359, 160 S.E.2d 29, 33 (1968). Furthermore, a

       review of the record reveals that the social worker’s testimony was not inconsistent

       or “modified.”
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¶ 23         The social worker assigned to respondent’s case in 2019 testified that prior to

       the determinative six-month period, respondent called her about Aiden “periodically.”

       Then, from January through April 2020, another social worker handled Aiden’s case.

       The initial social worker testified that DSS records did not reflect contact between

       respondent and the second social worker during the January through April 2020

       period. Moreover, after the initial social worker resumed working on Aiden’s case in

       April 2020, respondent did not contact her prior to July 29, 2020. Thus, the testimony

       was that prior to the determinative period, respondent had periodic contact with DSS,

       but that from January through July 29, 2020, respondent had no contact with DSS.

       Thus, the social worker’s testimony was not inconsistent.

¶ 24         Respondent also asks this Court’s to compare statements made by a foster

       parent in April 2020 against testimony the foster parent gave during the termination

       hearing. Respondent seeks to show that his last communication with the foster

       family occurred during the determinative six-month period, rather than on January

       15, 2020, as testified to by the foster parent at trial. Respondent argues “[i]t is more

       likely that their earlier testimony is more accurate.”

¶ 25         However, this Court has previously noted that

                    an important aspect of the trial court’s role as finder of fact
                    is assessing the demeanor and credibility of witnesses,
                    often in light of inconsistencies or contradictory evidence.
                    It is in part because the trial court is uniquely situated to
                    make this credibility determination that appellate courts
                    may not reweigh the underlying evidence presented at
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                    trial.

       In re A.J.T., 374 N.C. 504, 510, 843 S.E.2d 192, 196 (2020) (quoting In re J.A.M., 372

       N.C. 1, 11, 822 S.E.2d 693, 700 (2019)). Through the testimony of the social worker

       and foster parent, the record supports finding of fact 130, even if the trial court may

       have made a contrary finding. See In re B.O.A., 372 N.C. at 379, 831 S.E.2d at 310.

       As such, finding of fact 130 is conclusive on appeal.

       D. Findings of Fact 135, 140, and 145

¶ 26         Regarding findings of fact 135, 140, and 145—that “respondent father has

       withheld his love and affection from the juvenile”; his actions demonstrate “conduct

       which is wholly inconsistent with a desire to maintain custody of the juvenile”; and

       that respondent has willfully abandoned the juvenile—the trial court addressed

       mixed questions of law and fact.

¶ 27         Respondent further argues that the evidence before the court showed that he

       did not abandon Aiden.      He contends that while incarcerated his contacts were

       “limited” but that he began making phone calls to Aiden’s foster parents in October

       2019 and had an in-person meeting in November 2019 with the foster parents while

       at a hearing. Respondent testified to having regular access to a telephone every day

       during the determinative period from 7:00 a.m. to 11:00 p.m. Moreover, respondent’s

       fiancée testified to speaking with respondent every day in the year preceding the trial.
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¶ 28          As reflected in the testimony of Aiden’s foster parent, the foster family received

       a letter and a card from respondent in December 2019, and he spoke with the foster

       parents during four telephone calls prior to January 16, 2020. During a call on

       January 15, 2020, respondent acknowledged to the foster parents that there was a

       “very real possibility” that Aiden would be placed for adoption, and he asked to

       maintain a relationship with Aiden should the foster parents adopt him. When the

       foster parents indicated they could not guarantee continued contact with Aiden and

       that the type of contact respondent would be allowed would be based on respondent’s

       post-release actions, respondent “hung up.” Respondent did not communicate again

       with the foster parents via phone or Aiden via card or letter prior to the filing of the

       motion to terminate his parental rights. While the evidence suggests that respondent

       called the foster family one time “several weeks” after January 15, 2020, no one was

       able to answer or return the call as respondent did not leave a message.

¶ 29          Respondent contends that the gifts provided to Aiden by his fiancée are

       evidence that he did not willfully abandon the juvenile. However, respondent did not

       ask her to send Aiden cards and gifts, and his fiancée testified she did it of her own

       volition.   The evidence discussed above is contained in the record and supports

       findings of fact 135, 140, and 145. Thus, such findings are conclusive on appeal.

¶ 30          Respondent also directs our attention to a Certificate of Achievement he

       received for successful completion of a “Nurturing Father’s Program” filed with the
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       Burke County Clerk of Court’s Office on July 2, 2020. Yet respondent fails to direct

       our attention to any evidence or finding which suggests he applied the skills learned

       in the Nurturing Father’s Program in developing a relationship with Aiden or that

       such a relationship exists at all.

¶ 31         While the trial court may consider respondent’s efforts outside of the

       determinative six-month period, those actions do not preclude a finding that

       respondent willfully abandoned the juvenile when he did nothing to maintain or

       establish a relationship with Aiden during the determinative six-month period. In re

       C.B.C., 373 N.C. 16, 23, 832 S.E.2d 692, 697 (2019) (citing In re B.S.O., 234 N.C. App.

       706, 713 n.4, 760 S.E.2d 59, 65 n.4 (2014)).

¶ 32         As the challenged findings of fact are supported by clear, cogent, and

       convincing evidence they are conclusive on appeal.          Additionally, the remaining

       unchallenged findings of fact are binding on appeal. See In re K.N.K., 374 N.C. at 53,

       839 S.E.2d at 738; Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729, 731 (1991)

       (“Where no exception is taken to a finding of fact by the trial court, the finding is

       presumed to be supported by competent evidence and is binding on appeal.”). We

       now turn to whether such findings support the trial court’s conclusion that

       respondent abandoned Aiden and the termination of his parental rights was

       warranted.
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¶ 33         The trial court’s findings demonstrate that during the determinative six-

       month period, respondent was aware Aiden was in DSS custody, had the ability to

       communicate by telephone, and had the contact information for the foster family with

       whom Aiden was placed. Despite this, respondent failed to check on Aiden’s health,

       safety, welfare, condition, or status, and failed to provide any financial support.

       Respondent also did not send cards, gifts, or letters, and the gifts given to Aiden by

       respondent’s fiancée were not at the direction of respondent. Thus, respondent never

       acted as a parent to the juvenile and has never cultivated a bond with him. Therefore,

       the findings of fact support the trial court’s determination that grounds existed to

       terminate respondent’s parental rights in Aiden pursuant to N.C.G.S. § 7B-

       1111(a)(7).

¶ 34         Because the existence of only one ground under N.C.G.S. § 7B-1111 is required

       to support a termination of parental rights, see N.C.G.S. § 7B-1111(a), we need not

       address respondent’s argument as to N.C.G.S. § 7B-1111(a)(6). Respondent does not

       challenge the trial court’s determination that termination of his parental rights was

       in Aiden’s best interests. See N.C.G.S. § 7B-1110(a) (2019). Accordingly, we affirm

       the court’s order terminating respondent’s parental rights.

             AFFIRMED.
